Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 1 of 64 Page ID #:6



   .$5,6+	%-25*803&
     $(ULF%MRUJXP6%1
   (8QLRQ6WUHHW6XLWH%
     3DVDGHQD&$
   7HOHSKRQH
     )DFVLPLOH
   (PDLOHULFEMRUJXP#NELSFRP
     
   $WWRUQH\VIRU'HIHQGDQW7+((1'
     5(&25'6,1&
   
  
                                     
                         81,7('67$7(6',675,&7&2857
  
                        &(175$/',675,&72)&$/,)251,$
                           :(67(51',9,6,21
                                           
       */(11'$1=,*DQLQGLYLGXDODQG        &DVH1R 2:18-cv-05936
    (9,/,9(086,&//&D&DOLIRUQLD           
       OLPLWHGOLDELOLW\FRPSDQ\                '(&/$5$7,212)
                                              (5,&%-25*80
                                 3ODLQWLIIV     ,168332572)
                                              '()(1'$17¶6127,&(2)
       Y                                        5(029$/
                                            
       7+((1'5(&25'6,1&D1HZ<RUN 
    &RUSRUDWLRQDQG'2(6
       
    
       
                              'HIHQGDQW
       
          
          
 
 
 
 
 
 
 
 
                                                                        
              '(&/$5$7,212)(5,&%-25*80,62'()(1'$17¶6127,&(2)5(029$/
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 2 of 64 Page ID #:7



                             '(&/$5$7,212)(5,&%-25*80
           ,(ULF%MRUJXPGHFODUHDVIROORZV
                ,DPDQDWWRUQH\GXO\DGPLWWHGWRSUDFWLFHEHIRUHWKLV&RXUWDQGDQ
   DWWRUQH\LQWKHODZILUP.DULVK	%MRUJXP3&FRXQVHOIRU'HIHQGDQW7KH(QG
   5HFRUGV,QF³'HIHQGDQW´,KDYHSHUVRQDONQRZOHGJHRIWKHPDWWHUVVWDWHGLQ
       WKLVGHFODUDWLRQDQGLIFDOOHGDVDZLWQHVVFRXOGDQGZRXOGWHVWLI\FRPSHWHQWO\
  
       WKHUHWR,VXEPLWWKLVGHFODUDWLRQLQVXSSRUWRI'HIHQGDQW¶V1RWLFHRI5HPRYDO
  
                  $WWDFKHGKHUHWRDV([KLELW$LVDWUXHDQGFRUUHFWFRS\RI3ODLQWLIIV
  
       *OHQQ'DQ]LJDQG(YLOLYH0XVLF//&¶V³3ODLQWLIIV´-XO\&RPSODLQWWKH
  
       ³&RPSODLQW´ILOHGLQ6XSHULRU&RXUWRIWKH6WDWHRI&DOLIRUQLD)RUWKH&RXQW\RI
 
       /RV$QJHOHV&DVH1R%&WKH³/RV$QJHOHV&DVH´7KH&RPSODLQW
 
       DOOHJHVWKDW3ODLQWLII*OHQQ'DQ]LJLVDUHVLGHQWRI/RV$QJHOHV&DOLIRUQLD
 
       7KH&RPSODLQWDOOHJHVWKDWWKHFRSODLQWLII(YLOLYH0XVLF//&LVD³OLPLWHG
  OLDELOLW\FRPSDQ\RUJDQL]HGDQGH[LVWLQJXQGHUWKHODZVRIWKH6WDWHRI&DOLIRUQLD
  7KHVROHGHIHQGDQWQDPHGLQWKH&RPSODLQWLV'HIHQGDQW7KH(QG5HFRUGV
  //&D³OLPLWHGOLDELOLW\FRPSDQ\RUJDQL]HGDQGH[LVWLQJXQGHUWKHODZVRIWKH
  VWDWHRI&DOLIRUQLD´
               $WWDFKHGKHUHWRDV([KLELW%LVDWUXHDQGFRUUHFWFRS\RIWKH
  6XPPRQVVHUYHGRQ7KH(QG5HFRUGV//&LQWKHVWDWHFRXUWDFWLRQ
               $WWDFKHGKHUHWRDV([KLELW&LVDWUXHDQGFRUUHFWFRS\RI3ODLQWLIIV¶
  -XO\ Ex Parte$SSOLFDWLRQWR)LOH$PHQGPHQWWR&RPSODLQW&RUUHFWLQJ
  0LVWDNHLQWKH1DPHRI'HIHQGDQW³3ODLQWLIIV¶([3DUWH´7KH1RWLFHSRUWLRQRI
  3ODLQWLIIV¶([3DUWHVWDWHV³SODLQWLIIV«KHUHE\DSSO\«IRUDQRUGHUSHUPLWWLQJWKH
  ILOLQJRIDQDPHQGPHQWWRWKHFRPSODLQWWRFRUUHFWDPLVWDNHDVWRWKHQDPHRI
       GHIHQGDQW7KH(QG5HFRUGV,QFD1HZ<RUN&RUSRUDWLRQZKLFKZDVVXHG
 
       HUURQHRXVO\KHUHLQDVWKH(QG5HFRUGV//&D&DOLIRUQLDOLPLWHGOLDELOLW\
 
       FRPSDQ\´([KLELWWR3ODLQWLIIV¶([3DUWHLV3ODLQWLIIV¶SURSRVHGDPHQGPHQWWR
 
       WKH&RPSODLQW3ODLQWLIIV¶SURSRVHGDPHQGPHQWVUHSODFHDOOUHIHUHQFHVWRWKH
 
       &DOLIRUQLDHQWLW\7KH(QG5HFRUGV//&ZLWKUHIHUHQFHVWRWKH1HZ<RUNHQWLW\
 
       7KH(QG5HFRUGV,QF$WWKHKHDULQJRQ3ODLQWLIIV¶([3DUWHWKHMXGJH¶VWHQWDWLYH
                                                  
              '(&/$5$7,212)(5,&%-25*80,62'()(1'$17¶6127,&(2)5(029$/
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 3 of 64 Page ID #:8



   ZDVWRJUDQW3ODLQWLIIV¶ex parteDSSOLFDWLRQDOWKRXJKKHDOORZHG'HIHQGDQWWRILOH
   DQ\RSSRVLWLRQWR3ODLQWLIIV¶([3DUWHE\0RQGD\-XO\'HIHQGDQW7KH(QG
   5HFRUGV,QFKDVGHFLGHGWRVXEPLWRQWKHWHQWDWLYHDQGZLOOQRWILOHDQ\RSSRVLWLRQ
   WR3ODLQWLIIV¶([3DUWH
              $WWDFKHGDV([KLELWWR([KLELW&LVDWUXHDQGFRUUHFWFRS\RI
       'HIHQGDQW¶V)HEUXDU\1RWLFHRI5HPRYDOILOHGLQ&DVHFYLQ
  
       8QLWHG6WDWHV'LVWULFW&RXUW±&HQWUDO'LVWULFWRI&DOLIRUQLD3ODLQWLIIVLQLWLDOO\VXHG
  
       7KH(QG5HFRUGV//&DVXVSHQGHG&DOLIRUQLDHQWLW\RQ-DQXDU\LQWKH
  
       6XSHULRU&RXUWLQDQGIRUWKH&RXQW\RI/RV$QJHOHVHQWLWOHGGlenn Danzig and
  
       Evilive Music, LLC&DVH1R%&WKH³)LUVW6WDWH&RXUW$FWLRQ´ 
 
                 $WWDFKHGKHUHWRDV([KLELW'DUHWUXHDQGFRUUHFWFRSLHVRIDOORUGHUV
 
       VHUYHGRQ'HIHQGDQWWKH(QG5HFRUGV//&LQWKH/RV$QJHOHVFDVH
 
                 $WWDFKHGKHUHWRDV([KLELW(LVDWUXHDQGFRUUHFWFRS\RI3ODLQWLIIV¶
  -XQH7ULDO%ULHI,QWKHWULDOEULHI3ODLQWLIIVVWDWHWKDWWKH\VHHN
  LQGDPDJHV
              $WWDFKHGDV([KLELW$WR([KLELW(LVDWUXHDQGFRUUHFWFRS\RIWKH
  0DUFKPXVLFGLVWULEXWLRQDJUHHPHQWEHWZHHQ3ODLQWLII(YLOLYH0XVLF
  //&DQG7KH(QG5HFRUGV,QF
              $IWHU'HIHQGDQWUHPRYHGWKH3ULRU6WDWH&RXUW$FWLRQWRIHGHUDOFRXUW
  3ODLQWLIIVGLVPLVVHGWKHLUFODLPVZLWKRXWSUHMXGLFH
           :KHQ3ODLQWLIIVILOHGWKHVHFRQGVWDWHFRXUWODZVXLW3ODLQWLIIV¶FRXQVHO
  FODLPHGWKDW3ODLQWLIIVLQWHQGHGWRVHWWOHWKHFDVHSULRUWRWULDODQGLQGLFDWHGWKDW
  3ODLQWLIIVVRXJKWDUHFRYHU\
             3XUVXDQWWRDFRQIHUHQFHRIFRXQVHOWKDWRFFXUUHGDIWHU3ODLQWLIIV
       GLVFORVHGWKHLUWUXHGDPDJHQXPEHU'HIHQGDQWLQIRUPHG3ODLQWLIIWKDWLWLQWHQGHG
 
       WRPRYHWRGLVPLVV3ODLQWLII¶VFRPSODLQWIRUQDPLQJDSDUW\ZLWKQRFRQQHFWLRQWR
 
       WKLVODZVXLW7KH(QG5HFRUGV//&
 
 
 

                                                  
              '(&/$5$7,212)(5,&%-25*80,62'()(1'$17¶6127,&(2)5(029$/
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 4 of 64 Page ID #:9



   
   
   
   
            ,GHFODUHXQGHUSHQDOW\RISHUMXU\XQGHUWKHODZVRIWKH8QLWHG6WDWHVWKDWWKH
                                                   WK
   IRUHJRLQJLVWUXHDQGFRUUHFW([HFXWHGWKLV GD\RI-XQHDW3DVDGHQD
   &DOLIRUQLD
   
                                                    /s/ Eric Bjorgum
  
                                                    (ULF%MRUJXP
 
  
                                                        
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
                                                                                
                  '(&/$5$7,212)(5,&%-25*80,62'()(1'$17¶6127,&(2)5(029$/
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 5 of 64 Page ID #:10




                    Exhibit A
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 6 of 64 Page ID #:11
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 7 of 64 Page ID #:12
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 8 of 64 Page ID #:13
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 9 of 64 Page ID #:14
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 10 of 64 Page ID #:15
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 11 of 64 Page ID #:16




                    Exhibit B
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 12 of 64 Page ID #:17
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 13 of 64 Page ID #:18




                    Exhibit C
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 14 of 64 Page ID #:19
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 15 of 64 Page ID #:20
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 16 of 64 Page ID #:21
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 17 of 64 Page ID #:22
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 18 of 64 Page ID #:23
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 19 of 64 Page ID #:24
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 20 of 64 Page ID #:25
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 21 of 64 Page ID #:26
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 22 of 64 Page ID #:27
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 23 of 64 Page ID #:28
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 24 of 64 Page ID #:29
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 25 of 64 Page ID #:30
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 26 of 64 Page ID #:31
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 27 of 64 Page ID #:32
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 28 of 64 Page ID #:33
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 29 of 64 Page ID #:34
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 30 of 64 Page ID #:35
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 31 of 64 Page ID #:36
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 32 of 64 Page ID #:37
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 33 of 64 Page ID #:38




                    Exhibit D
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 34 of 64 Page ID #:39
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 35 of 64 Page ID #:40
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 36 of 64 Page ID #:41
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 37 of 64 Page ID #:42
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 38 of 64 Page ID #:43
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 39 of 64 Page ID #:44
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 40 of 64 Page ID #:45
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 41 of 64 Page ID #:46
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 42 of 64 Page ID #:47
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 43 of 64 Page ID #:48
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 44 of 64 Page ID #:49
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 45 of 64 Page ID #:50
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 46 of 64 Page ID #:51




                       Exhibit E
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 47 of 64 Page ID #:52
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 48 of 64 Page ID #:53
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 49 of 64 Page ID #:54
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 50 of 64 Page ID #:55
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 51 of 64 Page ID #:56
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 52 of 64 Page ID #:57
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 53 of 64 Page ID #:58
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 54 of 64 Page ID #:59




                    Exhibit A
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 55 of 64 Page ID #:60
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 56 of 64 Page ID #:61
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 57 of 64 Page ID #:62
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 58 of 64 Page ID #:63
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 59 of 64 Page ID #:64
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 60 of 64 Page ID #:65
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 61 of 64 Page ID #:66
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 62 of 64 Page ID #:67
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 63 of 64 Page ID #:68
Case 2:18-cv-05936-ODW-JC Document 2 Filed 07/06/18 Page 64 of 64 Page ID #:69
